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7     UNITED STATES OF AMERICA

8                             UNITED STATES DISTRICT COURT

9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                No. 2:24-cr-00091-ODW

11               Plaintiff,                    GOVERNMENT’S EX PARTE APPLICATION
                                               FOR ORDER SEALING CERTAIN EXHIBITS
12                    v.                       TO GOVERNMENT’S APPLICATION FOR
                                               REVIEW OF MAGISTRATE JUDGE’S BAIL
13    ALEXANDER SMIRNOV,                       ORDER; DECLARATION OF DEREK E.
                                               HINES
14               Defendant.
                                               (UNDER SEAL)
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      The government hereby applies ex parte for an order that certain
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      exhibits in the above-titled case be filed under seal exhibits 1, 3,
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19    4, 5, 6, 7, 10 and 11 to the Government’s Application for Review of

20    Magistrate Judge’s Bail Order under seal as these documents contain

21    personally identifiable information (PII) and/or financial
22    information, which should be protected from public view.              Exhibits 1,
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      3, 4, 5, 6, 7 10, and 11 were sealed by the magistrate judge in the
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      underlying proceeding and exhibit 11 is the pretrial services report
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      in the District of Nevada.
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      //
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      //
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1          This ex parte application is made pursuant to Local Criminal

2     Rule 49-1.2(b)(3) and is based on the attached declaration of Senior

3     Assistant Special Counsel Derek E. Hines.

4      Dated: February 21, 2024             Respectfully submitted,

5                                           DAVID WEISS
                                            Special Counsel
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8                                           __________________________________
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9                                           Principal Senior Assistant Special
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13                                          Assistant Special Counsels
14                                          United States Department of Justice
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1                              DECLARATION OF DEREK E. HINES

2          I, Derek E. Hines, declare as follows:

3     I am the Senior Assistant Special Counsel.              I represent the government
4     in the prosecution of United States v. Alexander Smirnov, No. 2:24-
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      cr-00091-ODW, where on February 14, 2024, a federal grand jury in the
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      Central      District   of   California    returned       a   two-count    indictment
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      charging Smirnov with one count of making false statements to federal
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      law enforcement, in violation of 18 U.S.C. § 1001 (Count One) and; one
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10    count   of    fabricating    information       in   a   federal   investigation,       in

11    violation of 18 U.S.C. § 1519 (Count Two).               United States v. Smirnov,

12    Cr. No. 2:24-cr-00091-ODW (C.D. Cal. Feb. 14, 2024, ECF 1).                 That same
13    day, Smirnov was arrested in the District of Nevada as he returned to
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      the United States on an international flight.                 Smirnov was scheduled
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      to leave the United States two days later, on February 16, 2024.
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      A detention hearing was held scheduled in his matter on February 20,
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      2024, before United States Magistrate Judge Daniel J. Albregts of the
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19    United States District Court for the District of Nevada.                  At that

20    hearing, United States Magistrate Judge Albregts ordered Smirnov

21    released on a personal recognizance bond and conditions.                  He further
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      ordered that certain exhibits to the government’s motion be sealed,
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      including exhibits 1, 3, 4, 5, 6, 7, 10 and 11.                The United States is
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      now requesting a review of the Magistrate Judge’s Bail Order. In
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      support of that application, the government has included these same
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27    exhibits which include personally identifiable information (PII)

28    and/or financial information.          The defendant did not object to these

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1     exhibits being sealed in the underlying proceeding in the District of
2     Nevada.   The government has included on additional exhibit, exhibit
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      11, which is the pretrial services report and also includes
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      personally identifiable information (PII) and/or financial
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      information.
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           1.     Accordingly, the government requests that exhibits 1, 3, 4,
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      5, 6, 7, 10 and 11 to the Government’s Application for Review of
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      Magistrate Judge’s Bail Order be sealed.
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           2.     Copies of the sealed exhibits were provided to defense
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      counsel on February 21, 2024 by email.
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           3.     I declare under penalty of perjury under the laws of the
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      United States of America that the foregoing is true and correct and
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      that this declaration is executed at Las Vegas, Nevada, on February
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      21, 2024.
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                                                DEREK E. HINES
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